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IN THE UNITED sTATES DISTRICT CoURT 053€;> co

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DEANNA WARD, )
Plaintiff, §
VS. § No. 05-1190-T
COMMISSIONER OF §
SOCIAL SECURITY, )
Defendant. §

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Cornrnissioner of Social Security
denying Plaintiff‘S application for benefits under the Social Secul'ity Act.
The following briefing schedule is hereby established in this matter:

Plaintiffs brief in support of this appeal must be filed within 30 days of the
date of this order.

Defendant's brief in opposition to this appeal must be filed within 30 days after
service of Plaintiff‘s brief.

If Plaintiff wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant's brief.

F ailure of either party to comply with this order will result in appropriate Sanctions,
which may include consideration of the case without regard to that paity's brief, or dismissal

of the action.

Thfs document entered on the docket sheet in compliance
with Rule 58 and,'or_?$ (a) FRCP on

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Oral argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01190 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

